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          EXHIBIT 52
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          SUPREME COURT OF THE STATE OF NEW YORK
                                                                                                     C-
          COUNTY OF BRONX, I.A.S, PART 2
          Matter of JOSEPH AGNEW, ANTHONY GANG,
          ryRONE GREENE and KAMER REID, on behalf of
          themselves and all others similarly situated,
                                                        Petitioners,              lndex No. 813431-2021E

                                                                                  JUDGMENT/ORDER
                            -against-
                                                                                  Present:
                                                                                  HON. ELIZABETH A. TAYLOR
          NEW YORK CITY DEPARTMENT OF CORRECTION,
                                                      Res oondent
          The following papers numbered I to _ read on this motion,

                                                                                                PAPERS NUMBERED
          No    On Calendar    of                                                               (NYSCEF Conf. Notice #s)
          Notice of Motion-Order to Show Cause - Exhibits and Affidavits Annexed-----
          Answerins Aflidavit and Exhibits----
          Replying Affi davit and Exhibits-------
                  Affidavit----------
          Pleadings: Exhibit
          Stipulation   -
                      Referee's Report -Minutes---------------------
          Filed papers-------




                   On December 3,2021 , this court granted movants'Article 78 petition and issued

          an order directing respondent Department of Correction (DOC) to immediately comply

          with its duties, [pursuant to 40 RCNY 3-02 and Correction Law $500-c(4)] to:

                   a. Provide Petitioners with access to sick call on weekdays, excluding
                   holidays, and to make sick call available at each facility to all persons in
                   DOC custody a minimum of five days per week within 24 hours of a
                   request, or at the next regularly scheduled sick call, whichever is first;
                   [and]

                   b. Safely keep in the New York City jails each person laMully committed
                   to his custody by providing sufficient security for the movement of
                   incarcerated persons to and from health services, and by not prohibiting
                   or delaying incarcerated persons' access to care, appropriate treatment,
                   or medical or dental services.




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          The order further directed respondent to "provide proof of substantial compliance" with

          the above within one week of the order.

                  On May 13,2022, after a hearing, this court found respondent in contempt of the

          December 3,2021 order and provided respondent with 30 days of entry of the order, fo

          wit, May   17 ,   2022 through June 16, 2Q22, lo purge itself of the contempt. lt is noted

          that in their motion for contempt, petitioners requested compensatory fines for the

          agreed to number of instances of non-compliance with the December 3,2021 order,

          specifically, 1,061 instances in December 2021 and 848 instances in January 2022.

          The May 13,2022 order directed the parties to virtually appear before the court on June

          24,2022 "as a control date to determine whether the respondent has purged itself of

          this finding of contempt," and further directed that in the event respondent does not

          purge itself, respondent "shall pay a compensatory fine, in the amount of $100.00 for

          each missed escort to the infirmary, from December 11,2021 through January 2Q22,lo

          petitioners for its contemptuous conduct." lt is noted that the parties appeared in the

          virtual courtroom on June 24,2022 and at a follow-up telephone conference on July 15,

          2022.

                  The following papers/documents were filed regarding whether respondent

          purged itself of the contempt order:

                    "New York City Department of Correction Compliance Affidavit," from
                  '1)
                  Kathleen Thomas, Chief of Staff of the New York City Department of
                  Correction (NYSCEF Doc. No. 129, filed on June 16,2022)',

                  2) "Letter/Correspondence to Judge," from petitioners' counsel (NYSCEF
                  Doc. No. 130-139, filed on June23,2022);


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                 3) "Affidavit of Rabiah Gaynor Re: New York City Department of
                 Correction Compliance Affidavit," from Rabiah Gaynor, Executive Director
                 of Health Affairs Division of the New York City Department of Correction
                 (NYSCEF Doc. No. 140, filed on July 5, 2022): and

                 4) "Afflrmation of Petitioner's Counsel in Sur-Reply to the Department of
                 Correction Compliance Affidavit," from Katherine Fell, Esq., attorney for
                 petitioners (NYSCEF Doc. No. 141 - 144, filed on July 8,2022).

          The above documents were filed before the telephone conference on July 15,2022,

          and the parties requested that the court make its determination, of whether respondent

          purged itself of the contempt order, solely on the above listed documents.

                 "'After a finding of contempt has been made, it is the contemnor's burden to

          demonstrate [by clear and convincing evidence] that he or she has purged the

          contempt or that it is impossible for him or her to purge"' (Town of Copake v 13

          Lackawanna Propefties, LLC, 169 AD3d 1 178, 1 181 [3d Dept 2019] quoting Riverside

          Capital Advisers, lnc. v First Secured Capital Corp.,57 A.D.3d 870,871,870 N.Y.S.2d

          114 [2008] [citations omitted], /vdlsmlssed 12 N.Y.3d 842,881 N.Y.S.2d 15,908

          N.E.2d e23 t20091).

                 ln support of its claim that it purged itself of the contempt, respondent submits

          the affidavits of Kathleen Thomas and Rabiah Gaynor. Ms. Thomas affirms that "[i]n

          the period lasting from May   17   , 20221o June 12, 2022, 42,177 clinic appointments were

          scheduled. Of that number, the Department failed to produce 1 86 inmates due to lack

          of escort availability. This represents approximately 0.4olo of the total scheduled

          appointments during this time period." lt is noted that the purge period ended on June

          16th, not   June   12th.


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                Ms. Gaynor also affirms that "while the official cause of death is still pending in

          recent cases, many of the apparent causes of death in Department custody over the

          last few years have no clear connection to missed clinic appointments." lt is noted that

         the cause of inmates'deaths while on Rikers' lsland is not before this court and the

          record before this court is devoid of any allegation or evidence of a causal relation. The

          sole issue in contention before this court is whether respondent purged itself of

          contempt of the court's order dated December 3,2021, namely, to "provide proof of

          substantial compliance" with its duties to allow petitioners "access to sick call on

          weekdays . . . within 24 hours of a request, or at the next regularly scheduled sick call,

          whichever is first . . . and by not prohibiting or delaying incarcerated persons'access to

          care, appropriate treatment, or medical or dental services."

                 While respondent has demonstrated that it is committed to providing inmates

          with access to clinic appointments, it did not meet its heavy burden, on this record, to

          demonstrate that it substantially complied with the December 3,2021 order lo provide

          petitioners with access to sick call. The only evidence submitted regarding access to

          the infirmary during the purge period is Ms. Thomas' affirmation that respondent only

          failed to produce inmates, due to lack of escort availability, for 186 out ol 42,177 clinic

          appointments that were scheduled. This constitutes substantial compliance if the

          December 3,2021 order directed respondent to provide escorts for the number of

          scheduled appointments. However, the December 3,2021 order directed respondent

          to provide proof of substantial compliance with, among other things, access to sick call



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          on weekdays. "The term 'sick call' means the department's process by which an

          incarcerated individual requesfs to be seen by a health care professional for the

          purpose of assessing or treating such incarcerated indivldual's non-emergency medical

          complaint" (Administrative Code of the City of New York $9-1 08). This court cannot

          assume that the "42,177 clinic appointments [] scheduled' equals the number of sick

          calls for the period refened to by Ms. Thomas. At a minimum, respondent did not

          allege or submit evidence, for the purge period, of how many inmate requests for sick

          call services were made and, of that number, how many of those requests were denied

          due to lack of escorts. lt is noted that to demonstrate personal knowledge of a matter,

          the affiant must describe the basis of his or her knowledge of the facts and without a

          basis, such as admissible business records, self-serving statements are insufficient.

                 Based upon the record before this court, respondent failed to purge itself of the

          contempt order dated May 13,2022.

                 ln light of the foregoing, it is hereby

                 ORDERED and ADJUDGED that petitioners shall have judgment against

          respondent and within 90 days of entry of this order, respondent shall pay petitioners

          $100.00 for each missed escort to the infirmary, from December 11,2021 through

          January 2022.

                 ORDERED and ADJUDGED that within 30 days of entry of this order, petitioners

          shall file an affirmation setting forth their request for reasonable attorney fees incurred

          in this contempt proceeding, and within 15 days of the filing of petitioners' affirmation,



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          respondents shall file an opposition affirmation if the parties are unable to agree on the

          amount. lf the parties are able to agree on the amount or attorney fees, they shall

          inform the court.

                  The foregoing shall constitute the judgment and order of this court.



          Dated
                    AUG   0I   2022                                  #-
                                                                     J.S.C.

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